                                              United States Bankruptcy Court
                                             Northern District of California
In re:                                                                                                     Case No. 20-30134-HLB
Howard Wai Ho Wong                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0971-3                  User: mtartagli                    Page 1 of 2                          Date Rcvd: Feb 10, 2020
                                      Form ID: 309A                      Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 12, 2020.
db             +Howard Wai Ho Wong,    667 41st Avenue,    San Francisco, CA 94121-2528
ust            +Office of the U.S. Trustee / SF,     Phillip J. Burton Federal Building,
                 450 Golden Gate Ave. 5th Fl., #05-0153,     San Francisco, CA 94102-3661
15119076       +Beekman/Cortes,    940 Adams Street,    Suite J,   Benicia, CA 94510-2950
15119077       +Carl E. Kadlic,    3527 Mt. Diablo Blvd., Ste. 112,     Lafayette, CA 94549-3815
15119078       +Carol Smith,    1650 Moraga St,    San Francisco, CA 94122-4430
15119079       +Chase Auto Finance,    911 Harrison St,    San Francisco, CA 94107-1008
15119080        Citibank,    PO BOX 790046,    St. Louis, MO 63179-0046
15119082       +Ed Hatter & Co.,    150 Post St., # 610,    San Francisco, CA 94108-4722
15119084       +Fred Fong,    361 Scarlet Oak Court,    Pleasant Hill, CA 94523-1243
15119086       +Jeni Fong,    667 41st Avenue,    San Francisco, CA 94121-2528
15119087       +Judy McKie,    49 Kearny St., F8,    San Francisco, CA 94108-5573
15119088       +Lilly Bryant,    66 Calypso Shrs,    Novato, CA 94949-5345
15119089       +May Lee Chai,    1890 Clay St., Apt. 604,    San Francisco, CA 94109-3518
15119090       +Michael Hamman,    702 Earl Street,    San Francisco, CA 94124-2968
15119074       +Moya Law Firm,    1300 Clay Street,    Oakland, CA 94612-1427
15119091       +Peter Bales,    Buchalter,    55 Second St., Ste. 1700,    San Francisco, CA 94105-3493
15119092       +Roy K. Fong,    5 Bigleaf Road,    Orinda, CA 94563-3729
15119093       +Subaru Motors Finance,     P.O. Box 78058,   Phoenix, AZ 85062-8058
15119094       +Tony Fong,    20182 Rodrigues Ave,    Cupertino, CA 95014-3100

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: sfinestone@fhlawllp.com Feb 11 2020 03:54:33      Stephen D. Finestone,
                 Finestone Hayes LLP,   456 Montgomery St. 20th Fl.,    San Francisco, CA 94104
tr             +EDI: BJMELDER.COM Feb 11 2020 08:33:00      Janina M. Hoskins,    P.O. Box 158,
                 Middletown, CA 95461-0158
smg             EDI: EDD.COM Feb 11 2020 08:33:00      CA Employment Development Dept.,
                 Bankruptcy Group MIC 92E,   P.O. Box 826880,    Sacramento, CA 94280-0001
smg             EDI: CALTAX.COM Feb 11 2020 08:33:00      CA Franchise Tax Board,
                 Special Procedures Bankruptcy Unit,    P.O. Box 2952,   Sacramento, CA 95812-2952
smg            +EDI: EDD.COM Feb 11 2020 08:33:00      Chief Tax Collection Section,
                 Employment Development Section,   P.O. Box 826203,    Sacramento, CA 94230-0001
15119075        EDI: AMEREXPR.COM Feb 11 2020 08:33:00      American Express,    P.O. Box 650448,
                 Dallas, TX 75265-0448
15119081       +EDI: DISCOVER.COM Feb 11 2020 08:33:00      Discover,   P.O. Box 6103,
                 CarolStream, IL 60197-6103
15119083       +EDI: CALTAX.COM Feb 11 2020 08:33:00      Franchise Tax Board,    State of California,
                 P.O. Box 2952,   Sacramento, CA 95812-2952
15119085       +EDI: IRS.COM Feb 11 2020 08:34:00      Internal Revenue Service,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
                                                                                              TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
intp*            +Jeni Fong,   667 41st Avenue,   San Francisco, CA 94121-2528
intp*            +Subaru Motors Finance,   P.O. Box 78058,   Phoenix, AZ 85062-8058
                                                                                                                    TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 12, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING




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District/off: 0971-3          User: mtartagli             Page 2 of 2                  Date Rcvd: Feb 10, 2020
                              Form ID: 309A               Total Noticed: 28


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 10, 2020 at the address(es) listed below:
              Janina M. Hoskins    jmelder7@aol.com, Ca80@ecfcbis.com
              Office of the U.S. Trustee / SF    USTPRegion17.SF.ECF@usdoj.gov
              Stephen D. Finestone    on behalf of Debtor Howard Wai Ho Wong sfinestone@fhlawllp.com
                                                                                             TOTAL: 3




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      Debtors may request to receive Court notices and orders by email instead of U.S. mail. Sign Up at www.canb.uscourts.gov
Information to identify the case:
Debtor 1              Howard Wai Ho Wong                                                         Social Security number or ITIN            xxx−xx−5263
                      First Name   Middle Name     Last Name                                     EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                                 EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             California Northern Bankruptcy Court
                                                                                                 Date case filed for chapter 7 2/7/20
Case number:          20−30134 HLB 7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                     12/15


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want to have a particular
debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines specified in this notice. (See line 9
for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                 About Debtor 1:                                               About Debtor 2:

 1.     Debtor's full name                       Howard Wai Ho Wong

 2.     All other names used in the fdba Grace Imaging
        last 8 years

 3.    Address                                 667 41st Avenue
                                               San Francisco, CA 94121

 4.    Debtor's attorney                       Stephen D. Finestone                                            Contact phone (415) 421−2624
                                               Finestone Hayes LLP
       Name and address                        456 Montgomery St. 20th Fl.
                                               San Francisco, CA 94104

 5.    Bankruptcy trustee                      Janina M. Hoskins                                               Contact phone (707) 569−9508
                                               P.O. Box 158                                                    Email: jmelder7@aol.com
       Name and address                        Middletown, CA 95461

 6.      Bankruptcy clerk's office                       450 Golden Gate Avenue, 18th Fl.                        Hours open: 9:00 am to 4:30 pm,
                                                         Mail Box 36099                                          Monday − Friday
         Documents in this case may be filed at this     San Francisco, CA 94102
         address. You may inspect all records filed                                                              Contact phone: 415−268−2300
         in this case at this office or online at
         www.pacer.gov.
                                                                                                                 Date: 2/10/20
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor Howard Wai Ho Wong                                                                                               Case number 20−30134 HLB 7


7. Meeting of creditors                                 March 18, 2020 at 09:30 AM                                         Location:

    Debtors must attend the meeting to be               The meeting may be continued or                                    Office of the U.S. Trustee,
    questioned under oath. In a joint case, both        adjourned to a later date. If so, the                              450 Golden Gate Avenue,
    spouses must attend. Creditors may attend, but
    are not required to do so.                          date will be on the court docket.                                  Suite 01−5467, San
                                                                                                                           Francisco, CA 94102
    Important Notice to Individual Debtors: The United States Trustee requires all debtors who are individuals to provide government−issued
    photo identification and proof of social security number to the trustee at the meeting of creditors. If a debtor fails to appear, your case may be
    dismissed without further notice.


8. Presumption of abuse                                 The presumption of abuse does not arise.

    If the presumption of abuse arises, you may have
    the right to file a motion to dismiss the case
    under 11 U.S.C. § 707(b). Debtors may rebut the
    presumption by showing special circumstances.


9. Deadlines                                            File by the deadline to object to Filing
                                                        discharge or to challenge whether deadline:
    The bankruptcy clerk's office must receive these    certain debts are dischargeable:  5/18/20
    documents and any required filing fee by the
    following deadlines.
                                                        You must file a complaint:

                                                         • if you assert that the debtor is not entitled
                                                           to receive a discharge of any debts under
                                                           any of the subdivisions of 11 U.S.C. §
                                                           727(a)(2) through (7),
                                                           or
                                                         • if you want to have a debt excepted from
                                                           discharge under 11 U.S.C § 523(a)(2), (4),
                                                           or (6).
                                                         You must file a motion:
                                                         • if you assert that the discharge should be
                                                           denied under § 727(a)(8) or (9).


                                                        Deadline to object to exemptions:                                  Filing deadline: 30 days after
                                                        The law permits debtors to keep certain                            the conclusion of the meeting of
                                                        property as exempt. If you believe that the                        creditors
                                                        law does not authorize an exemption claimed,
                                                        you may file an objection.


10. Proof of claim                                      No property appears to be available to pay creditors. Therefore, please do not file
                                                        a proof of claim now. If it later appears that assets are available to pay creditors,
    Please do not file a proof of claim unless you      the clerk will send you another notice telling you that you may file a proof of claim
    receive a notice to do so.                          and stating the deadline.

11. Creditors with a foreign address                    If you are a creditor receiving a notice mailed to a foreign address, you may file a
                                                        motion asking the court to extend the deadlines in this notice. Consult an attorney
                                                        familiar with United States bankruptcy law if you have any questions about your
                                                        rights in this case.

12. Exempt property                                     The law allows debtors to keep certain property as exempt. Fully exempt property
                                                        will not be sold and distributed to creditors. Debtors must file a list of property
                                                        claimed as exempt. You may inspect that list at the bankruptcy clerk's office or
                                                        online at www.pacer.gov. If you believe that the law does not authorize an
                                                        exemption that the debtors claim, you may file an objection. The bankruptcy clerk's
                                                        office must receive the objection by the deadline to object to exemptions in line 9.

13. Actions by Trustee Permitted Without Unless an objection is filed within 14 days of the date of this notice, the trustee
    Notice                               may, without further notice or hearing: (1) sell non−exempt property from an estate
                                         that has an estate that has an aggregate gross value of less than $2,500 (FRBP
                                         6004 (D)) or (2) abandon to the debtor any scheduled asset which the trustee
                                         determines has an inconsequential net value to the estate (11 U.S.C. §554(C ) ).
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




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